
The Supreme Court affirmed the judgments of the Common Pleas on June 9th, 1884, in the following opinion:
Per Curiam.
These two cases were argued together. They present the same question. We cannot look beyond the records. Each transcript shows the parties appeared, and that the plaintiff in error was present at the trial. The fact that he was sworn and testified as a witness for the defendants, does not destroy the legal effect of his presence. The want of service was cured. If aggrieved his only remedy under the special acts applicable to this county was by Appeal, unless, he brought himself within the proviso to the 7th section of the Act of March 28, 1870, P. Laws, 596; Pur. Dig, 856. This he did not do; Hill vs. Olmstead, 1 W. N. C, 387.
Judgment in each case affirmed.
